Appellant has moved to strike from the filed transcript numerous matters of record which were included on a supplemental praecipe by appellee.
The grounds of the motion are that appellant, desiring to have a single question reviewed, set it forth in his praecipe, and called for such portions of the record as he deemed necessary to such review; that the additional portions of the record called for by appellee are unnecessary and immaterial to the question; that appellee has taken no cross-appeal nor stated any additional questions for review; that appellant is prejudiced (1) by delay in completing the record; (2) by being compelled to pay the added expense thereof, and (3) because the unnecessary record will cloud and confuse the issue.
We find no merit in the motion. The first two matters of prejudice have already occurred. The second may be relieved against at the proper time in the taxation of costs. N.M. App. Proc. Rule XI, § 4. The third is prospective, not alarming, and can be determined *Page 211 
more readily when the cause shall be before us on the merits.
The motion is overruled.
SADLER, HUDSPETH, BICKLEY, and ZINN, JJ., concur.